
HARDY, Judge.
This suit was consolidated for trial and purposes of appeal with the suit entitled Aymond v. Gremillion Brothers Implement Company, La.App., 56 So.2d 311.
Stipulation of counsel and joint motion for consolidation of appeals, despite minor and immaterial differences of fact 'in the cases, have the effect of making applicable to this cause the judgment rendered in the above numbered and styled cause.
For the reasons set forth in the case noted, it is ordered, adjudged and decreed that the judgment appealed from he and it is hereby reversed and set aside and judgment is noiw rendered sustaining the plea of prescription filed by defendants, and plaintiff's demands are rejected and suit dismissed at his cost.
